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                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON
                                       EUGENE DIVISION



 UNIVERSITY OF OREGON, individually                    Case No. 6:21-cv-00619-MK
 and in its capacity as the Assignee of the rights
 of the Estate of Eliborio Rodrigues, Jr.,             STIPULATED PROTECTIVE ORDER

                Plaintiff,

        v.

 TROY PHILLIPS, an individual,

                Defendant.


                                              STIPULATION

       One or more of the parties has requested the production of documents or information that

at least one party considers to be or to contain confidential information, and that are subject to

protection under Federal Rule of Civil Procedure 26(c).

       The parties agree that good cause exists to protect the confidential nature of the

information contained in documents, interrogatory responses, responses to requests for

admission, or deposition testimony. This action concerns certain confidential student and

employee information that is subject to confidentiality provisions in collective bargaining


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agreements or otherwise not subject to public disclosure. The parties expect to exchange

documents and information relating to that confidential information. The parties agree that the

entry of this Stipulated Protective Order (“Protective Order”) is warranted to protect against

disclosure of such documents and information.

        The parties further agree that this Protective Order applies to the use of documents in

both this litigation and the arbitration before Arbitrator Thomas F. Levak relating to Officer

Phillips’ employment at the University of Oregon (“the parties’ arbitration”).

        Based upon the above stipulation of the parties, and the Court being duly advised,

        IT IS HEREBY ORDERED as follows:

        1.      All documents, testimony, and other materials produced by the parties in this case

and labeled “Confidential” shall be used only in this litigation and the parties’ arbitration.

        2.      Use of any information or documents labeled “Confidential” and subject to this

Protective Order, including all information derived therefrom, shall be restricted solely to the

litigation of this case and the parties’ arbitration and shall not be used for any other purpose. This

Protective Order, however, does not restrict the disclosure or use of any information or

documents lawfully obtained by the receiving party through means or sources outside of this

litigation. Should a dispute arise as to any specific information or document, the burden shall be

on the party claiming that such information or document was lawfully obtained through means

and sources outside of this litigation and the parties’ arbitration.
        3.      The parties, and third parties subpoenaed by one of the parties, may designate as

“Confidential” documents, testimony, written responses, or other materials produced in this case

and/or the parties’ arbitration if they contain information that the producing party has a good

faith basis for asserting is confidential under the applicable legal standards. The party shall

designate each page of the document with a stamp or watermark identifying it as “Confidential,”

if practical to do so.




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       4.      If portions of documents or other materials deemed “Confidential” or any papers

containing or referring to such materials are filed with the Court or submitted to Arbitrator

Levak, they shall be filed under seal and marked as follows or in substantially similar form:

               CONFIDENTIAL

               IN ACCORDANCE WITH A PROTECTIVE ORDER, THE
               ENCLOSURE(S) SHALL BE TREATED AS CONFIDENTIAL AND
               SHALL NOT BE SHOWN TO ANY PERSON OTHER THAN
               THOSE PERSONS DESIGNATED IN PARAGRAPH 7 OF THE
               PROTECTIVE ORDER.
If a party is filing or submitting a document that it has itself designated as “Confidential,” that

party shall reference this Stipulated Protective Order in submitting the documents it proposes to

maintain under seal. If a non-designating party is filing a document that another party has

designated as “Confidential,” then the non-designating party shall file the document under seal.

If the non-designating party makes a request in writing to have the document unsealed and the

designating party does not file, within ten calendar days, a motion that shows good cause to

maintain the document under seal, then the Court shall unseal the document. Before seeking to

maintain the protection of documents filed with the Court, a party must assess whether redaction

is a viable alternative to complete nondisclosure.

       5.      Within thirty (30) days after receipt of the final transcript of the deposition of any

party or witness in this case, a party or the witness may designate as “Confidential” any portion

of the transcript that the party or witness contends discloses confidential information. If a
transcript containing any such material is filed with the Court, it shall be filed under seal and

marked in the manner described in paragraph 4. Unless otherwise agreed, all deposition

transcripts shall be treated as “Confidential” until the expiration of the thirty-day period.

       6.      “Confidential” information and documents subject to this Protective Order shall

not be filed with the Court or included in whole or in part in pleadings, motions, briefs, etc., filed

in this case, except when any portion(s) of such pleadings, motions, briefs, etc. have been filed

under seal by counsel and marked in the same manner as described in paragraph 4 above. Such




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sealed portion(s) of pleadings, motions, briefs, documents, etc., shall be opened only by the

Court or by personnel authorized to do so by the Court.

       7.      Use of any information, documents, or portions of documents marked

“Confidential,” including all information derived therefrom, shall be restricted solely to the

following persons, who agree to be bound by the terms of this Protective Order, unless additional

persons are stipulated by counsel or authorized by the Court and/or Arbitrator, as applicable:

               a.      Outside counsel of record for the parties, and the administrative
                       staff of outside counsel’s firms.

               b.      In-house counsel for the parties, and the administrative staff for
                       each in-house counsel.

               c.      Any party to this action who is an individual, and every employee,
                       director, officer, or manager of any party to this action who is not
                       an individual, but only to the extent necessary to further the interest
                       of the parties in this litigation.

               d.      Independent consultants or expert witnesses (including partners,
                       associates and employees of the firm which employs such
                       consultant or expert) retained by a party or its attorneys for
                       purposes of this litigation, but only to the extent necessary to further
                       the interest of the parties in this litigation.

               e.      The Court and its personnel, including, but not limited to,
                       stenographic reporters regularly employed by the Court and
                       stenographic reporters not regularly employed by the Court who are
                       engaged by the Court or the parties during the litigation of this
                       action.

               f.      Arbitrator Levak and his personnel for the purposes of the parties’
                       arbitration.

               g.      The authors and the original recipients of the documents.

               h.      Any court reporter or videographer reporting a deposition.

               i.      Employees of copy services, microfilming or database services, trial
                       support firms and/or translators who are engaged by the parties
                       during the litigation of this action.
       8.      Prior to being shown any documents produced by another party marked

“Confidential,” any person listed under paragraph 7(c) or 7(d) shall be given a copy of this order

and informed by counsel that they must abide by its terms.




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       9.      Whenever information designated as “Confidential” pursuant to this Protective

Order is to be discussed by a party or disclosed in a deposition, hearing, or pre-trial proceeding,

the designating party may exclude from the room any person, other than persons designated in

paragraph 7, as appropriate, for that portion of the deposition, hearing or pretrial proceeding.

       10.     Each party reserves the right to dispute the confidential status claimed by any

other party or subpoenaed party in accordance with this Protective Order. If a party believes that

any documents or materials have been inappropriately designated by another party or

subpoenaed party, that party shall confer with counsel for the designating party. As part of that

conferral, the designating party must assess whether redaction is a viable alternative to complete

non-disclosure. If the parties are unable to resolve the matter informally, a party may file an

appropriate motion before the Court requesting that the Court determine whether the Protective

Order covers the document in dispute. Regardless of which party files the motion, the party

seeking to protect a document from disclosure bears the burden of establishing good cause for

why the document should not be disclosed. A party who disagrees with another party’s

designation must nevertheless abide by that designation until the matter is resolved by agreement

of the parties or by order of the Court.

       11.     The inadvertent failure to designate a document, testimony, or other material as

“Confidential” prior to disclosure shall not operate as a waiver of the party’s right to later

designate the document, testimony, or other material as “Confidential.” The receiving party or its
counsel shall not disclose such documents or materials if that party knows or reasonably should

know that a claim of confidentiality would be made by the producing party. Promptly after

receiving notice from the producing party of a claim of confidentiality, the receiving party or its

counsel shall inform the producing party of all pertinent facts relating to the prior disclosure of

the newly-designated documents or materials, and shall make reasonable efforts to retrieve such

documents and materials and to prevent further disclosure.

       12.     Designation by either party of information or documents as “Confidential,” or

failure to so designate, will not constitute an admission that information or documents are or are


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not confidential. Neither party may introduce into evidence in any proceeding between the

parties, other than a motion to determine whether the Protective Order covers the information or

documents in dispute, the fact that the other party designated or failed to designate information

or documents as “Confidential.”

       13.     Upon the request of the producing party or third party, within 30 days after the

entry of a final judgment no longer subject to appeal on the merits of this case, or the execution

of any agreement between the parties to resolve amicably and settle this case, the parties and any

person authorized by this Protective Order to receive confidential information shall return to the

producing party or third party, or destroy, all information and documents subject to this

Protective Order. Returned materials shall be delivered in sealed envelopes marked

“Confidential” to respective counsel. The party requesting the return of materials shall pay the

reasonable costs of responding to its request. Notwithstanding the foregoing, counsel for a party

may retain archival copies of confidential documents.

       14.     This Protective Order shall not constitute a waiver of any party’s or nonparty’s

right to oppose any discovery request or arbitration request or object to the admissibility of any

document, testimony or other information.

       15.     Nothing in this Protective Order shall prejudice any party from seeking

amendments to expand or restrict the rights of access to and use of confidential information, or

other modifications, subject to order by the Court.
       16.     The restrictions on disclosure and use of confidential information shall survive the

conclusion of this action and this Court shall retain jurisdiction of this action after its conclusion

for the purpose of enforcing the terms of this Protective Order.

IT IS SO STIPULATED:

 HUTCHINSON COX                                  THENELL LAW GROUP, PC

 By: s/Andrea D. Coit                            By: s/Daniel E. Thenell
     Andrea D. Coit, OSB #002640                     Daniel E. Thenell, OSB #971655
     Jonathan M. Hood, OSB #133872                   Of Attorneys for Defendant
     Of Attorneys for Plaintiff


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       The Court has reviewed the reasons offered in support of entry of this Stipulated

Protective Order and finds that there is good cause to protect the confidential nature of certain

information. Accordingly, the Court adopts the above Stipulated Protective Order in this action.



       IT IS SO ORDERED.



       DATED: July 6, 2022


                                              s/ Mustafa T. Kasubhai
                                              MUSTAFA T. KASUBHAI (He / Him)
                                              United States Magistrate Judge




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